Case 2:17-cr-00273-ODW Document 59 Filed 12/01/17 Page 1 of 16 Page ID #:402




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   6
                               UNITED STATES DISTRICT COURT
   7
                             CENTRAL DISTRICT OF CALIFORNIA
   8
   9                                            )
       UNITED STATES OF AMERICA,                )   Case No.: 17CR273-ODW
 10                                             )
                      Plaintiff,                )   EX PARTE APPLICATION TO PERMIT
 11                                             )
           v.                                   )   LIVE VIDEO TESTIMONY, OR IN THE
 12                                             )   ALTERNATIVE TO CONTINUE
       JUAN CARLOS GARCIA                       )
 13                                             )   TRIAL; DECLARATION OF JAMES L.
                      Defendant.                )   BAKER; DECLARATION OF MARK
 14                                             )
                                                )   WINDSOR; PROPOSED ORDER
 15                                             )
 16
 17             Defendant, Juan Carlos Garcia, through counsel, hereby applies to this
 18
       Honorable Court for an order that the defense be permitted to offer the testimony
 19
 20 of its expert witness via live video feed at trial, pursuant to Fed. R. Crim. P.2 and
 21
       57(b), rather than via Rule 15(a). This application is based on the attached
 22
 23 memorandum of points and authorities, the attached declarations, all files and
 24 records in this case, and such further information as may be provided to the Court
 25
    regarding the application.
 26
 27
       Dated: December 1, 2017                 Respectfully Submitted
 28                                      By:               /s/
                                               MARK WINDSOR

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Case 2:17-cr-00273-ODW Document 59 Filed 12/01/17 Page 2 of 16 Page ID #:403




  1               MEMORANDUM OF POINTS AND AUTHORITIES

   2                                           I.
   3
                                      INTRODUCTION
   4
   5        Mr. Garcia wishes to proffer the testimony of Bureau of Prisons Expert
   6 James L. Baker. As set forth in the attached declaration of Mr. Baker, this witness
   7 is at the very heart of Mr. Garcia’s defense.
   8         Mr. Baker has been working with Mr. Garcia’s defense team since October
  9 16, 2017, and has a thorough knowledge of the key evidence in this case.
 10
    Unfortunately, due to the issues addressed in Mr. Baker’s Declaration re Health
 11
    Issues, filed under seal concurrently with this Ex Parte Application, Mr. Baker is
 12
    not able to appear in Los Angeles on the currently set trial date without
 13
    endangering his health, unreasonable expense, or both. Given the proximity to the
 14
    current trial date, a Rule 15(a) deposition is not practical. Video transmitted
 15
    testimony is allowed under the federal rules. Cf. Fed. R. of Civ. Proc. 43(a) (“For
 16
    good cause in compelling circumstances and with appropriate safeguards, the
 17
 18 court may permit testimony in open court by contemporaneous transmission from
 19 a different location.”) Live video testimony, via the use of professional video-
 20 conferencing services, will preserve the characteristics of in-court testimony of
 21 the expert witness, including: that the witness (1) will be sworn, (2) subject to full
 22 cross-examination by the government (with the use of any desired exhibits in real-
 23 time via dropbox or prior email), and (3) testify in full view of the jury, trial court,
 24 and government counsel. This procedure has been used in the past in the Central
 25 District of California, including in U.S. v. Luman, CR 09-1256-JFW.
 26         Courts have recognized that the live video feed option is the functional
 27 equivalent to face-to-face testimony, superior to Rule 15(a) depositions. F.T.C. v.
 28
    Swedish Match North America, 197 F.R.D. 1 (D.D.C. 2000)(no practical


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Case 2:17-cr-00273-ODW Document 59 Filed 12/01/17 Page 3 of 16 Page ID #:404




  1 difference between live testimony and contemporaneous video transmission, no
  2 adverse impact on ability to assess demeanor and credibility); U.S. v. Gigante,
   3 166 F.3d 75 (2d Cir. 1999) (Testimony via two-way circuit television preserved
   4 salutary effects of in-court testimony and afforded greater protection of
   5 defendant’s rights than would have been provided by pretrial deposition). The
   6 government has advised that it will oppose the use of live video feed testimony.
   7         Because live video testimony is superior to Rule 15(a) depositions taken in
   8 advance of trial, Mr. Garcia respectfully requests leave of the Court to present the
   9 testimony of these witnesses via live video feed at trial. The government opposes
 10
       the use of live video feed in place of Rule 15 depositions – at least absent a
 11
       proffer of the witness testimony (such as that provided, in camera, to the Court),
 12
       which the defense has, in turn, declined to provide at this juncture (and has,
 13
       instead, provided the Court).
 14
                                                II.
 15
                                          ARGUMENT
 16
       A.    Mr. Garia’s Fifth and Sixth Amendment Rights Militate In Favor of
 17
             Allowing His Presentation of Defense Witness Testimony Via Live
 18          Video
 19
 20          It is a basic tenet of due process that a defendant must be allowed to present
 21 favorable evidence. Chambers v. Mississippi, 410 U.S. 284, 294 (1971);
 22
    Washington v. Texas, 388 U.S. 14, 19 (1967); Taylor v. Illinois, 484 U.S. 400,
 23
    408-09 (1988). It can constitute a violation of due process if the missing witness’
 24
    testimony would have been relevant, material and favorable to the defense. See
 25
    United States v. Valenzuela-Bernal, 458 U.S. 858, 867, 872 (1982).
 26
          As a threshold matter, the preference for “face-to-face” testimony comes
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 28


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Case 2:17-cr-00273-ODW Document 59 Filed 12/01/17 Page 4 of 16 Page ID #:405




  1 from the defendant’s Sixth Amendment right to confrontation – a right that
  2 belongs to Mr. Garcia, not the government here. Coy v. Iowa, 487 U.S. 1012,
   3 1016 (1988) (The Confrontation Clause “guarantees the defendant a face-to-face
   4 meeting with witnesses appearing before the trier of fact.”) (emphasis added). In
   5 other words, Mr. Garcia’s Fifth and Sixth Amendment rights to present a defense,
   6 protect a privileged defense theory, be present in real-time when the witnesses
   7 present testimony, and be brought to speedy trial outweigh any non-constitutional
   8 interest the government could have in face-to-face testimony.
   9         Further, even in the face of the defendant’s right to confrontation, the right
 10
       to a physical face-to-face meeting is not absolute. Maryland v. Craig, 497 U.S.
 11
       836, 848 (1990). “[A} defendant’s right to confront accusatory witnesses may be
 12
       satisfied absent a physical, face-to-face confrontation at trial...where denial of
 13
       such confrontation is necessary to further an important public policy and only
 14
       where the reliability of the testimony is otherwise assured.” Craig, 497 U.S. at
 15
       850. Thus, even when the government wishes to use two-way video conference
 16
       testimony at trial, that does not violate a defendant’s right to confrontation where
 17
 18 (1) the court finds that the denial of physical face-to-face confrontation at trial is
 19 necessary to further an important public policy, and (2) the reliability of the
 20 testimony is otherwise assured. See Craig, 497 U.S. at 850, 855 (use of a closed-
 21 circuit television procedure that permits a child witness in a child abuse case to
 22 testify at trial against a defendant in the absence of face-to-face confrontation is
 23 permissible if the trial court makes an adequate “case-specific” finding of
 24 “necessity”); see also U.S. v. Quintero, 21 F.3d 885 (9th Cir. 1994) (testimony of
 25 minor witness who was not victim via closed circuit television did not violate
 26 defendant’s rights); People v. Lujan, 211 Cal. App. 4th 1499, 2012 WL 6573078
 27 (2d Dist. 2012) (same); Cf., United States v. Medjuck, 156 F.3d 916, 920 (9th
 28
       Cir.1998) (upholding admission of videotaped testimony from three Canadian


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Case 2:17-cr-00273-ODW Document 59 Filed 12/01/17 Page 5 of 16 Page ID #:406




  1 witnesses where the defendant "was able to participate in the depositions via a
  2 live video").
   3           In cases other than the scores of federal and state cases upholding the use of
   4 live minor witness testimony via closed-circuit television, courts have also upheld
   5 the use of live testimony transmitted from remote locations in the face of
   6 defendants’ confrontation challenges, and have found this technology to be
   7 superior, or at least akin, to the use of depositions approved by the Rule.
   8       In United States v. Gigante, 166 F.3d 75 (2d Cir. 1999), for example, the
   9 Second Circuit upheld the trial’s court’s decision to permit a key government
 10
       witness, who was too ill to travel, to testify via two-way, closed-circuit television,
 11
       based on his “inherent power” under Fed. R. Crim. P. 2 and 57(b) to structure a
 12
       criminal trial in a just manner. Id. at 80. During the testimony, the witness was
 13
       visible on video screens in the courtroom to the jury, defense counsel, the court,
 14
       and the defendant, and could see and hear defense counsel and other courtroom
 15
       participants on a video screen at his remote location. Id. On appeal, the court held
 16
       that:
 17
 18            The salutary effects of face-to-face confrontation include 1) the giving of
               testimony under oath; 2) the opportunity for cross-examination; 3) the
 19            ability of the fact-finder to observe demeanor evidence; and 4) the reduced
 20            risk that a witness will wrongfully implicate an innocent defendant when
               testifying in his presence.
 21
 22
       Id. at 81. In the Second Circuit’s view, the closed-circuit television procedure
 23
       “preserved all of these characteristics of in-court testimony;” thus, the defendant
 24
       forfeited none of the constitutional protections of confrontation. Id. (emphasis
 25
       added).
 26
               The court went on to compare the close-circuit television procedure used
 27
       with that of the Rule 15 deposition, finding the former superior:
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Case 2:17-cr-00273-ODW Document 59 Filed 12/01/17 Page 6 of 16 Page ID #:407




  1         A more profitable comparison can be made to the Rule 15
            deposition...Under the circumstances of this case, Judge Weinstein could
   2        have admitted Savino’s testimony pursuant to Rule 15 without offending
   3        the confrontation clause...We agree that the closed-circuit presentation of
            Savino’s testimony afforded greater protection of Gigante’s confontation
   4
            rights than would have been provided by a Rule 15 deposition. It forced
   5        Savino to testify before the jury, and allowed them to judge his credibility
   6        through his demeanor and comportment...Closed-circuit testimony also
            allowed Gigante’s attorney to weight the impact of Savino’s direct
   7        testimony on the jury as he crafted cross-examination.
   8
   9 Id. at 81. Thus, the court held:
 10         Because this procedure may provide at least as great protection of
            confrontation rights as Rule 15, we decline to adopt a stricter standard for
 11
            its use than the standard articulated by Rule 15. Upon a finding of
 12         exceptional circumstances, such as were found in this case, a trial may
 13         allow a witness to testify via two-way closed-circuit television when this
            furthers the interest of justice.
 14
 15 Id. (emphasis added).
 16
          Likewise, in United States v. Mostafa, 14 F. Supp. 3d 515 (S.D. N.Y.
 17
    2014), the court granted the government’s motion, pursuant to Federal Rules of
 18
    Criminal Procedure 2 and 15, for an order allowing Badat to testify by live
 19
    closed-circuit television in the defendant’s trial on terrorism charges. In so
 20
    holding, the court reasoned, “In some regards, CCTV provides more of the
 21
    characteristics that the Supreme Court has deemed significant to the
 22
 23 Confrontation Clause. For instance, the demeanor of a witness is apparent for the
 24 trier of fact to see live.” Id. at 520 (emphasis added).
 25        Finally, in State v. Sewell, 595 N.W.2d 207 (Minn. Ct. App. 1999), review
 26 denied, (Aug. 25, 1999), the court held that the presentation of prosecution
 27 witness’ testimony through use of interactive television was akin to use of
 28 videotaped deposition testimony, and thus authorized under rules of criminal


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Case 2:17-cr-00273-ODW Document 59 Filed 12/01/17 Page 7 of 16 Page ID #:408




  1 procedure, and did not violate defendant's confrontation rights where defense
  2 counsel had the unfettered opportunity to cross-examine witnesses. The court
   3 reasoned, “ITV is not a deposition, but it is a ‘sound-and-visual’ means of
   4 presenting testimony and is the functional equivalent of a videotaped deposition
   5 within the authority of rule 21.”Id. at 212.   The court then addressed appellant’s
   6 argument that the transmission of the witness's testimony through ITV was
   7 distorted in both sound and image, and that the distortions precluded effective
   8 cross-examination and impaired the jury's ability to consider Hurt's demeanor in
  9 assessing his credibility. The court disagreed:
 10
          Hurt's image on the screen in the courtroom was sufficiently clear to allow
 11       the jury to view him continuously and in reasonably precise detail
 12       throughout his testimony. The audio and the visual were synchronized and
          there was no sound distortion. There was occasional transitory and
 13       insignificant static-type interference with the video image. There was also
 14       a very slight time delay between questions and answers but this did not
          appear problematic. Appellant objected only once during Hurt's testimony
 15       and, presumably because of the time delay, Hurt answered before the court
 16       ruled. The court sustained the objection and instructed the jury to disregard
          Hurt's answer. This situation occurs even with live, in-court testimony; it
 17
          cannot be said to be unique to ITV technology. There was no technical
 18       deficiency or distortion in the transmission of Hurt's testimony that could
 19       reasonably be viewed as having impaired the cross-examination of Hurt or
          the jury's observation of his demeanor. Thus, we reject appellant's assertion
 20       that the quality of the ITV transmission deprived him of his right of
 21       confrontation.
 22
 23 Id. at 524 (emphasis added).
 24        In addition, at least one court has specifically approved the use of live video

 25 testimony in place of live testimony in court, deeming it to be the functional
 26 equivalent. In F.T.C. v. Swedish Match North America, Inc., 197 F.R.D. 1
 27 (D.D.C. 2000), the court held that witness who resided in Oklahoma would be
 28 permitted to testify for plaintiff via live video feed at a hearing held in the District


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Case 2:17-cr-00273-ODW Document 59 Filed 12/01/17 Page 8 of 16 Page ID #:409




  1 of Colombia because there was “no material difference between the live
  2 testimony and the live video testimony.” Id.at *2. The court reasoned that, “[b]oth
   3 the Federal Rule of Civil Procedure 43(a) and recent cases from the Ninth Circuit
   4 support contemporaneous transmission of testimony provided a good cause is
   5 shown and appropriate safeguards used.” Id. (citing Beltran-Tirado v. INS, 213
   6 F.3d 1179 (9th Cir.2000) (permitting the use of telephonic testimony where
   7 witness lived in Missouri while the hearing was held in San Diego and witness
   8 testimony was subject to cross examination); Alderman v. SEC, 104 F.3d 285,
   9 288 n. 4 (9th Cir. 1997)(rejecting plaintiff’s suggestion that credibility findings
 10
      were undermined because witness testified at the hearing by telephone) (citing
 11
      Official Airline Guides, Inc. v. Churchfield Publications, Inc., 756 F.Supp. 1393
 12
      (D.Or. 1990)) (relying on telephonic testimony), aff'd, 6 F.3d 1385 (9th Cir.
 13
      1993)). More importantly, the court reasoned:
 14
            the use of live video transmission will not prejudice the defendants because
 15         adequate safeguards exist to protect the procedure. In assessing the
 16         safeguards of such contemporaneous transmissions, the courts focus on
            whether the testimony was made in open court, under oath, and whether the
 17
            opportunity for cross examination was available. In the present case, Mr.
 18         Cross will testify through live video in open court, under oath, and
 19         defendants will have the opportunity to cross-examine the witness. The
            court, therefore, will have ample opportunity to assess the credibility of Mr.
 20         Cross.
 21
 22 B.      In the Alternative, The Court Should Continue the Trial.
 23         If the Court will not grant the request for an order permitting testimony by
 24 live video feed, this Court should continue the currently set trial date to a date
 25 when Mr. Baker or another equally qualified and knowledgeable expert is able to
 26 appear in person. It is essential to Mr. Garica’s defense that he be allowed to
 27 present expert testimony in this case, and if Mr. Baker cannot participate in the
 28
      trial by video feed, then we respectfully request sufficient time for Mr. Baker’s


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Case 2:17-cr-00273-ODW Document 59 Filed 12/01/17 Page 9 of 16 Page ID #:410




  1 condition to improve, or for another expert to come onto the case to assist at trial
  2 as a Bureau of Prisons expert.
   3                                          II.
   4                                  CONCLUSION
   5       Mr. Garcia respectfully requests that the Court grant this application. A
   6 Proposed Order is submitted herewith.
   7
   8 Dated: December 1, 2017          Respectfully submitted,
   9                                                /s/
 10
                                             MARK WINDSOR
 11
                                             Attorney for Defendant
 12
                                             Juan Carlos Garcia
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Case 2:17-cr-00273-ODW Document 59 Filed 12/01/17 Page 10 of 16 Page ID #:411




                             DECLARATION OF JAMES L. BAKER

                   I, JAMES L. BAKER, do hereby declare and say:

                    1.     I was appointed on October 16, 2017 as a Bureau of Prisons expert

     to assist the defense for JUAN CARLOS GARCIA in United States ofAmerica v.

     Garcia, et al. 17CR273-0DW.

                   2.      In connection with my appointment I have reviewed numerous

     documents and other materials relevant to the charges in this case that were obtained

    I through discovery. These materials_include three digital video tapes of the incident that
     is the subject of the charges in this case. I was asked to give my opinion relating to the

     incident, including the question of whether the behavior of the staff members were

     consistent with BOP policies and practices.

                   3.     In reviewing the videos I was struck by the staff member's (SIS

     Tech) demeanor during the encounter. It is my opinion, based on my knowledge of BOP

     procedures and practices and my experience as a guard and expert witness, that the staff

     member acted in such a manner as to cause the confrontation. I am aware from discovery

     that the SIS tech was talking to the inmate concerning an incident report he had written

     on the inmate. This is in direct conflict with Program Statement 5270.9, Inmate

     discipline and special housing units, which it describes the procedure for issuance of an

     incident report. Specifically, the SIS Tech, as the reporting party, had no cause or

     responsibility to discuss the incident report he had written. The policy states that the

     reporting party will tum the incident report over to a Lieutenant who will conduct an
Case 2:17-cr-00273-ODW Document 59 Filed 12/01/17 Page 11 of 16 Page ID #:412




      investigation to include issuing the inmate a copy of the incident report. It is clearly

      implied that the reporting party will have no further involvement in the incident report

      once it is written. If the incident had not yet been written then there is no reason for the

      staff member to inform the inmate that one was going to be written. Doing this is a dear

      indication that the staff member wished to cause a confrontation because there was no

      other reason, official or otherwise, for him to do so. There is nothing the inmate could

     say or do to stop the report from being written, so it doesn't make sense.

                    4.     The videos revealed that the incident took place in the unit day

     room, in full view of the other inmates present in the unit at the time. This is an unsound

     correctional practice. Every unit in the Bureau of Prisons has facilities (Offices)

     available for interviewing an inmate. To confront the inmate in the open area of the unit

     in the presence of other inmates puts the inmate on the spot. I observed at one point in

     the video the inmate turned to walk away and witnessed the staff member say something

     else to the inmate at which time he turned and again faced the staff member. It also

     appeared to me that the staff member raised his closed fists before the inmate. Soon after

     that, the staff member appears to quickly lunge at the inmate. This gives me further

     reason to believe that the staff member's intention was nothing more than to elicit a

     negative response irom the inmate rather than performing any otlicial or appropriate

     duties.
Case 2:17-cr-00273-ODW Document 59 Filed 12/01/17 Page 12 of 16 Page ID #:413




             5.     It is clear from the video that the staff member failed to use good judgment

      in this incident. As a SIS Tech the staff member has the responsibility to be aware that

      talking to an inmate in such a setting would place the inmate in a no-win situation, for

      him to back down he would be viewed as a "punk," or weak inmate. Being viewed as a

      weak inmate would subject him to having his personal property stolen, being assaulted

      or possibly murdered by other inmates who observed the confrontation or heard of it.

             6.     My expert qualifications are set forth in the attached resume. Specifically

     with respect to my expert opinion on this confrontation, I was assigned to the

     Investigative office in three Bureau of Prisons facilities. I was the Special Investigation

      Supervisor at USP Lompoc, I was the Special Investigative Agent at the USMCFP

      Springfield Mo and at USP Marion. As such I had the responsibility to supervise the

     staff assigned to the investigative office. This included the SIS techs. I can say without

     question had a staff member assigned to my office conducted himself in the manner this

     SIS tech did I would have removed him from that assignment at once.

             7.     I was assigned as the Discipline Hearing Officer for five years at USP

     Lompoc, as such I had operational responsibility for the Inmate Discipline Program at

     the institution. I believe that the incident reports issued from the incident, specifically,

     code 101 Assault charges have been over-charged. This incident in my opinion, should

     have been charged as code 224 assault. Program Statement 5270.9 Inmate Discipline and

     Special Housing units clearly states that to support a code 101 Assault charge serious
Case 2:17-cr-00273-ODW Document 59 Filed 12/01/17 Page 13 of 16 Page ID #:414




     injuries or attempted serious injuries must have been committed or attempted. The
                                                         •
     evidence in this incident does not support the Greatest Severity-level charge.

            I declare under the penalty of perjury that the foregoing is true and correct.

      Executed December 1, 2017 at Mitchell, Indiana.




                                                Respe~trPr_e_d_,_            _

                                                JAME~R
Case 2:17-cr-00273-ODW Document 59 Filed 12/01/17 Page 14 of 16 Page ID #:415




 1                       DECLARATION OF MARK WINDSOR
 2        I, Mark Windsor, hereby state and declare as follows:
 3
 4        1.     I am counsel of record for Juan Garcia in United States v. Garcia, et al.,
 5 17CR273-ODW.
 6        2.     This declaration is filed in support of the attached Ex Parte Application
 7 for Order Permitting the Testimony of Expert Witness Via Live Video Feed at Trial.
 8        3.     On July 21, 2017 this Court continued the trial in this matter to
 9 December 5, 2017 at 9 a.m. at the request of the parties.
10        4.     On October 2, 2017 I filed a pretrial motion to compel production of
11 discovery in this case [Doc. 29] and noticed it for a hearing on October 30, 2017 in
12 compliance with this Court’s procedures.
13        5.     On October 12, 2017 I was advised via e-mail by the Deputy Clerk that
14 this Court would not be available for trial on the scheduled date of December 5,
15 2017, and that the Court was requesting a stipulation to continue the trial to late
16 January of 2018.
17        6.     At that time, and continuing to the present, my client was housed in a
18 segregated unit where he was locked down at least 23 hours a day and isolated from
19 other inmates. These were and are difficult conditions for Mr. Garcia, and he
20 understandably does not want to suffer them indefinitely. At the time the Deputy
21 Clerk advised me of the Court’s request to stipulate to a continuance of the
22 December 5 trial date, Mr. Garcia had been housed in the segregated unit for over
23 seven months. When I asked about continuing the trial, he informed me that he did
24 not want to continue the trial to a date after the December 5 date, which he believed
25 would prolong his segregation. In light of this, I enquired of government counsel
26 whether they would consent to transfer of the case to another judge in order to
27 accommodate the Court’s request as well as my clients’.
28
Case 2:17-cr-00273-ODW Document 59 Filed 12/01/17 Page 15 of 16 Page ID #:416




 1        6.     When I did not receive a response from this inquiry, I lodged a Notice
 2 of Related Case with the Court, which referenced Mr. Garcia’s other ongoing federal
 3 case before the Honorable Christina A. Snyder, U.S. v. Garcia, 13CR824-CAS, to at
 4 least provide this Court with the possibility of transferring the case to Judge Snyder.
 5 The government filed an Opposition to this Notice on November 13, 2017.
 6        7.     On October 19, 2017 I was informed by the Deputy Clerk via e-mail
 7 that the motion hearing date of October 30, 2017 had been continued to November
 8 27, 2017. I was further informed that this date could change, and the case could be
 9 transferred. At this point, because pretrial discovery issues were now delayed to a
10 week before the trial date and the case had not been transferred, I believed the trial
11 was very likely not going forward on December 5, 2017 and I informed my
12 investigator and expert witness of this opinion. Nonetheless, my defense team and I
13 continued to work diligently to prepare the case for trial.
14        8.     On November 15, 2017 I was informed by the Courtroom Deputy that
15 the Court needed to continue the December 5 trial date to a date in late February of
16 2018. I informed the Courtroom Deputy that my client could not stipulate to a
17 continuance, and a status conference was set for November 29, 2017. This date was
18 later vacated and the status conference was set at the same time as the discovery
19 motion on November 27, 2017.
20        9.      On November 27, 2017, the trial date was set for December 12, 2017.
21 Later that day, the trial date was changed back to December 5, 2017. I immediately
22 contacted my expert witness, Mr. Baker, about this development. Mr. Baker
23 informed me that he may not be able to make it to Los Angeles due to health issues,
24 and told me he would consult his doctor about flying.
25        10.    Upon hearing this news, I began researching and contacting alternative
26 experts. I did this because testimony from a BOP expert on the issues of inmate code
27 (what would have happened to Mr. Garcia if he had not responded to the
28 provocation) and scope of official duties are both essential to the defense of this case.


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Case 2:17-cr-00273-ODW Document 59 Filed 12/01/17 Page 16 of 16 Page ID #:417




 1 I was able to identify three other individuals with appropriate qualifications, and
 2 spoke with each of them extensively. One was unable to obtain permission to assist
 3 me (he is currently employed by a government corrections department), and the other
 4 two experts indicated they could not be ready to provide testimony in the time
 5 available between now and the trial. In sum, I ultimately could not find someone to
 6 substitute for Mr. Baker.
 7        11.    Mr. Baker’s testimony is a necessary component of our planned defense
 8 at trial. Because the trial date is set for December 5, 2017 and Mr. Baker cannot fly
 9 out to Los Angeles for a trial on that date, I am requesting the Court authorize live
10 feed video testimony from Mr. Baker from near his home in Indiana. This will enable
11 him to testify and allow cross-examination by government counsel while still
12 allowing Mr. Garcia to present his defense to the charges against him and meeting
13 this Court’s scheduling preferences.
14 11.    My investigator, Joel Wyenn, has contacted the Federal Defenders Office in
15 Indianapolis, Indiana, which is a 1.5-hour drive from Mr. Baker’s place of business,
16 and has been informed that facilities are available at the Federal District Court in
17 Indianapolis for live feed video testimony. Mr. Wyenn has told me further that the
18 Clerk’s Office in Indianapolis has a conference room set up for this purpose.
19 Therefore, should this Court authorize this method of testimony by Mr. Baker, the
20 technology and logistics are available at the Indiana end of the feed.
21               I declare under penalty of perjury that the foregoing is true and correct
22 to the best of my knowledge.
23
24        Executed this 1st day of December, 2017, at Pasadena, California.
25
26                                                 _________/s/_____________________
27                                                 MARK WINDSOR

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                                               3
